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        EXHIBIT 1
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

    In re:                                                             Chapter 11

    SEASONS CORPORATE LLC, et al.,                                     Case No.: 18-45284 (NHL)

                                                                       Jointly Administered

                                        Debtors.1



                 NOTICEOFDEADLINEREQUIRINGFILINGOFPROOFSOF
                          CLAIMONORBEFORE-81(,2019


                Name                                                     Case No.
                Seasons Corporate LLC                                    1-18-45284-nhl
                Blue Gold Equities LLC                                   1-18-45280-nhl
                Amsterdam Avenue Market LLC                              1-18-45281-nhl
                Lawrence Supermarket LLC                                 1-18-45282-nhl
                Seasons Cleveland LLC                                    1-18-45283-nhl
                Wilmot Road Market LLC                                   1-18-45285-nhl
                Seasons Lakewood LLC                                     1-18-45286-nhl
                Central Avenue Market LLC                                1-18-45287-nhl
                Seasons Clifton LLC                                      1-18-45288-nhl
                Upper West Side Supermarket LLC                          1-18-45289-nhl
                Seasons Express Inwood LLC                               1-18-45290-nhl
                Seasons Maryland LLC                                     1-18-45291-nhl
                Seasons Property Management LLC                          1-18-46618-nhl

TO ALL PERSONS AND ENTITIES WITH CLAIMS AGAINST
ANY OF THE DEBTORS ON THE ABOVE LIST:




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     The Debtors in these Chapter 11 cases, together with the last four digits of their federal tax identification numbers,
     are as follows: Blue Gold Equities LLC (7766), Central Avenue Market LLC (7961), Amsterdam Avenue Market
     LLC (7988), Wilmot Road Market LLC (8020), Seasons Express Inwood LLC (1703), Seasons Lakewood LLC
     (0295), Seasons Maryland LLC (1895), Seasons Clifton LLC (3331), Seasons Cleveland LLC (7367), Lawrence
     Supermarket LLC (8258), Upper West Side Supermarket LLC (8895), Seasons Property Management LLC (2672)
     and Seasons Corporate LLC (2266) (collectively the “Debtors”).
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                The United States Bankruptcy Court for the Eastern District of New York has

enteredanOrderestablishing-XQHDWSP(the“BarDate”)asthelastdateforeach

person or entity (including individuals, partnerships, corporations, joint ventures, trusts and

governmentalunits)tofileaproofofclaimagainsttheotherDebtorsontheabovelist.


                TheBarDateandtheproceduressetforthbelowforfilingproofsofclaimapplyto

allclaimsagainsttheDebtorsthatarosepriortoSeptember16,201(the“FilingDate”),thedate

on which the Debtors commenced a case under chapter 11 of 11 U.S.C. §§ 101 et seq. (the

“BankruptcyCode”),2 exceptforthoseholdersoftheclaimslistedinSection4belowthatare

specificallyexcludedfromtheBarDatefilingrequirement.


1.     WHOMUSTFILEAPROOFOFCLAIM


                YouMUSTfileaproofofclaimtovoteonaChapter11planfiledbytheDebtors

ortoshareindistributionsfromtheDebtors’bankruptcyestateifyouhaveaclaimthataroseprior

totheFilingDate,anditisnotoneofthetypesofclaimsdescribedinSection4below.Claimsbased

onactsoromissionsoftheDebtorsthatoccurredbeforetheFilingDatemustbefiledonorpriorto

theBarDate, even if such claims arenot nowfixed,liquidatedorcertain ordid not matureor

becomefixed,liquidatedorcertainbeforetheFilingDate.


                Undersection101(5)oftheBankruptcyCodeandasusedinthisNotice,theword

“claim”means:(a)arighttopayment,whetherornotsuchrightisreducedtojudgment,liquidated,

unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal, equitable,



2 Sessions6HDVRQVPropertyManagement,LLCcommenceditsbankruptcycaseonNovember14,2018.




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secured, or unsecured; or (b) a right to an equitable remedy for breach of performance if such

breachgivesrisetoarighttopayment,whetherornotsuchrighttoanequitableremedyisreduced

tojudgment,fixed,contingent,matured,unmatured,disputed,undisputed,securedorunsecured.


2.     WHATTOFILE


                Your filed proof of claim must conform substantially to Official Form No. 10,

acopy of which is annexed to this Notice. Additional proof of claim forms may be obtained

atwww.uscourts.gov/bkforms.


                Theproofofclaimformmustbesignedbytheclaimantor,iftheclaimantisnotan

individual,byanauthorizedagentoftheclaimant.ItmustbewritteninEnglishandbedenominated

inUnitedStatescurrency.Youmustattachtoyourcompletedproofofclaimanydocumentson

whichtheclaimisbased(ifvoluminous,attachasummary).


                AnyholderofaclaimagainstmorethanoneDebtormustfileaseparateproofof

claimwithrespecttoeachDebtor,andallholdersofclaimsmustidentifyontheirproofofclaim

the specific Debtor against which their claim is asserted and the case number of that Debtors’

bankruptcycase.AlistsettingfortheachDebtor’snameandcasenumberissetforthabove.


                Your proof of claim form shall not contain complete social security numbers or

taxpayeridentificationnumbers(onlythelastfourdigits),acompletebirthdate(onlytheyear),

thenameofaminor(onlytheminor’sinitials)orafinancialaccountnumber(onlythelastfour

digitsofsuchfinancialaccount).




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3.      WHEN AND WHERE TO FILE


        A.     Except as provided for herein, all proofs of claim must be filed so as to be received

nolaterthanSPRQ -XQH  . Proofsofclaimshallbefiledinoneofthefollowing

ways:


             (i)     Online through the Debtors’ case website at:

              https://omnimgt.com/seasonscorporatepocsubmission and click on

              “Submit a Proof of Claim.”

                                                  -OR-

             (ii)    By first-class mail, hand delivery, or overnight mail:

               Seasons Corporate, et al. Claims Processing
               c/o Omni Management Group
               5955 De Soto Avenue, Suite 100
               Woodland Hills, CA 91367

               Proofs of claim will be deemed filed only when received at the address listed herein

on or before the Bar Date. Proofs of claim may not be delivered by facsimile, telecopy or electronic

mail transmission.


        B.     Proofs of Claim by governmental units must be filed by the Bar Date.


4.      WHO NEED NOT FILE A PROOF OF CLAIM


               You do not need to file a proof of claim on or before the Bar Date if you are:


               (a)      A person or entity that has already filed a proof of claim against one of the
                        DebtorsinthiscasewiththeClerkoftheBankruptcyCourtfortheEastern
                        DistrictofNewYorkinaformsubstantiallysimilartoOfficialBankruptcy
                        FormNo.10;




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                (b)      A person or entity whose claim is listed on the Schedules of Assets and
                         Liabilities filed by the Debtors (collectively, the “Schedules”) [Docket
                         Entry No. 172] if (i) the claim is not scheduled as “disputed,” “contingent,”
                         or “unliquidated” and (ii) you agree with the amount, nature and priority of
                         the claim as set forth in the Schedules and (iii) you do not dispute that your
                         claim is an obligation only of the specific Debtor against which the claim is
                         listed in the Schedules;
                (c)      A holder of a claim that has already been allowed in this case by order of
                         the Court;
                (d)      A holder of a claim for which a different deadline for filing a proof of claim
                         in this case has already been fixed by this Court; or
                (e)      A holder of a claim allowable under sections 503(b) and 507(a)(2) of the
                         Bankruptcy Code as an expense of administration of the Debtors’ estates.


                IfyouareaholderofanequityinterestintheDebtors,youneednotfileaproofof

interestwithrespecttotheownershipofsuchequityinterestatthistime.But,ifyouassertaclaim

againsttheDebtors,includingaclaimrelatingtoyourequityinterestorthepurchaseorsaleofthat

interest,youmustfileaproofofclaimonorpriortotheBarDateinaccordancewiththeprocedures

setforthinthisNotice.


                This Notice is being sent to many persons and entities that have had some

relationshipwithorhavedonebusinesswiththeDebtors,butmaynothaveanunpaidclaimagainst

theDebtors.ThefactthatyouhavereceivedthisNoticedoesnotmeanthatyouhaveaclaim,or

thattheDebtorsortheCourtbelievesthatyouhaveaclaimagainsttheDebtors.


5.     EXECUTORYCONTRACTSANDUNEXPIREDLEASES


                Ifyouhaveaclaimarisingoutoftherejectionofanexecutorycontractorunexpired

lease as to which the order authorizing such rejection is dated on or before thedateofentryof

theBarOrder,youmustfileaproofofclaimbasedonsuchrejectiononorbeforethe later of the

BarDateorthedatethatis30days afterthedateoftheorderauthorizingsuchUHMHFWLRQ




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Any person or entity that has a claim arising from the rejection of an executory contract or

unexpiredlease,astowhichtheorderisdatedafterthedateofentryoftheBarOrder,mustfilea

proof of claimwithrespecttosuchclaimbythedatefixedbytheCourt intheapplicableorder

authorizingrejectionofsuchcontractorlease.


6.      CONSEQUENCES OF FAILURE TO FILE A PROOF OF CLAIM BY THE BAR
        DATE


                ANY HOLDER OF A CLAIM THAT IS NOT EXCEPTED FROM THE

REQUIREMENTS OF THIS ORDER, AS SET FORTH IN SECTION 4 ABOVE, AND THAT

FAILS TO TIMELY FILE A PROOF OF CLAIM IN THE APPROPRIATE FORM, WILL BE

BARRED FROM ASSERTING ITS CLAIM AGAINST THE DEBTORS AND THEIR

CHAPTER 11 ESTATES, VOTING ON ANY PLAN OF REORGANIZATION FILED IN THIS

CASE, AND PARTICIPATING IN ANY DISTRIBUTION IN THE DEBTORS’ CHAPTER 11

CASE ON ACCOUNT OF THAT CLAIM.


7.      THE DEBTORS’ SCHEDULES AND ACCESS THERETO


                You may be listed as the holder of a claim against the Debtors in the Debtors’

Schedules. If you agree with the nature, amount and status of your claim as listed in the Debtors’

Schedules, and if you do not dispute that your claim is only against the Debtor specified by the

Debtors, and if your claim is not described as “disputed,” “contingent,” or “unliquidated,” you do

not need to file a proof of claim. Otherwise, you must file a proof of claim before the Bar Date in

accordance with the procedures set forth in this Notice.




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CopiesoftheDebtor’sSchedulesareavailableforinspectionontheCourt’sInternetWebsiteat

http://www.nysb.uscourts.gov. AloginandpasswordtotheCourt’sPublicAccesstoElectronic

CourtRecords(“PACER”)arerequiredtoaccessthisinformationandcanbeobtainedthroughthe

PACERServiceCenterathttp://www.pacer.gov. CopiesoftheDebtors’Schedulesmayalsobe

examinedbetweenthehoursof9:00a.m.and4:30p.m.,MondaythroughFridayattheOfficeof

the Clerk of the Bankruptcy Court, Conrad B. Duberstein U.S. Bankruptcy Courthouse, 271

CadmanPlazaEast,Brooklyn,NY11201-1800.CopiesoftheDebtor’s Schedules mayalsobe

obtained by written request to Debtors’ counsel at the address and telephone number set forth

below.

$KROGHURIDSRVVLEOHFODLPDJDLQVWWKH'HEWRUVKRXOGFRQVXOWDQDWWRUQH\UHJDUGLQJDQ\

PDWWHUVQRWFRYHUHGE\WKLVQRWLFHVXFKDVZKHWKHUWKHKROGHUVKRXOGILOHDSURRIRIFODLP


Dated: ___________ , New York                            BY ORDER OF THE COURT
       _______ __, 2019

_____________________________________
ZEICHNER ELLMAN & KRAUSE LLP
Nathan Schwed
Peter Janovsky
Robert Guttmann
1211 Avenue of the Americas, 40th Floor
New York, New York 10036
Telephone: (212) 2230400
Facsimile: (212) 753-0396
Email: nschwed@zeklaw.com
        pjanovsky@zeklaw.com
        rguttmann@zeklaw.com

 Counsel for the Debtors




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